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                 EXHIBIT C




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                                     STATE OF NEW MEXICO
                  SOLE SOURCE REQUEST AND DETERMINATION FORM

A sole source determination is not effective until the sole source request for determination has
been posted for thirty (30) calendar days without challenge, and subsequently approved in writing
by the State Purchasing Agent or, for Professional Services Agreements, the Secretary of the
General Services Department. The foregoing requirement is regardless of whether the sole source
request for determination has been signed by the Agency and/or the Contractor.


 I.    Name of Agency: Eastern New Mexico University – Roswell

       Agency Chief Procurement Officer: Scott Davis

       Telephone Number: 575-562-2425

       Agency Contact for this request: Tory Norris, Director of Nursing
       Telephone Number & Email Address

              575-637-9344
              Tory.norris@roswell.enmu.edu


 II.   Name of prospective Contractor: Assessment Technologies Institute LLC (ATI)
       SHARE Vendor Number (must be active):
       Address of prospective Contractor:

              11161 Overbrook Road
              Leawood, Kansas 66211

       Contact Name, Telephone Number and Email Address:

              John Brooks
              (915) 204-7447
              John.Brooks@atitesting.com

       Amount of prospective contract before tax:
            Estimated tax amount (tax is subject to change):

              $868.75 per student per semester
              Est. 100 students per semester X $868.75 = $86,875 per semester
              Current student fees $693.75 per student per semester
              Proposing change to $868.75 student fee per student per semester for Fall 2025
              No Tax applied to this amount.



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       Term of prospective contract: 3 Years
Note: For terms longer than one year, Request for Policy Exemption from DFA MUST be
included.

 III.   Agency is required to state purpose/need of purchase and thoroughly list the services (scope
        of work), construction or items of tangible personal property of the prospective contract (if
        this is an amendment request to an existing contract, include current contract number issued
        by SPD):

        ATI is a critical component of the nursing program curriculum to provide instruction,
        resources, best practices, and NCLEX Prep for students. The following services/products
        are provided by ATI:

           1. CARP (Comprehensive Assessment & Review Program)
                    i. Content Mastery Series (CMS) Proctored Assessments
                   ii. CMS Online Practice Assessments
                 iii. Clinical Judgement Practice Items
                  iv. Comprehensive Predictor - Proctored & Online Practice
                   v. Assessments
                  vi. Focused Review Modules
                 vii. Video Case Studies
                viii. NurseLogic
                  ix. Learning System
                   x. Self-Assessment Inventory
                  xi. Critical Thinking Entrance/Exit Test
           2. Launch: Nursing Academic Readiness
           3. ATI HealthAssess
           4. EHR Tutor
           5. Skills Modules
           6. Engage Fundamentals
           7. Engage Mental Health
           8. Engage Community and Public Health
           9. Engage Adult Medical Surgical
           10. Engage Maternal Newborn upon ATI’s general release1
           11. Engage Pediatrics upon ATI’s general release1
           12. Dosage Calculations and Safe Medication Administration
           13. Pharmacology Made Easy
           14. Dosage Calculation Proctored Assessments
           15. Anatomy and Physiology Assessment Package
           16. Achieve Tutorial
           17. Real Life: Clinical Reasoning Scenarios
           18. Nurses Touch Tutorials
           19. Communication Simulation Modules
           20. Civility Simulation Modules
           21. Swift River Virtual Clinicals
           22. Test Taking Strategies Seminar
           23. Learning Strategies Book

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   24. Jones & Bartlett Drug Guide
   25. Active Stack: Pharmacology Online Flash Cards
   26. Custom Assessment Builder
   27. ATI Remote Proctoring Services (Standard)
   28. NCLEX Reviews
            i. ATI Capstone Content Review
           ii. Virtual-ATI
          iii. BoardVitals
          iv. ATI Comprehensive Live NCLEX Review 2
   29. Nursing Program Resources:
            i. The following modules of ATI Program Manager by MedHub -
                   1. Accreditation Management
                   2. Clinical Management
           ii. ATI Pulse
          iii. Four (4) Total Days of Consulting with an ATI Nurse Consultant3
          iv. ATI Academy Premium Membership
           v. Educating Nurses Faculty Annual Subscription4
          vi. Nurse Educator Essentials: Online Learning Lab


Many of the services listed provide components for students and components for
instructors to aid in and support instruction aligned with the content. ATI services provide
support for all aspects of the nursing program, and is imperative to the continued success
and growth of the program. The list above encompasses the following resource categories:

       1.  Nursing Benchmarking exams for specific levels/topics
       2.  Student academic support modules/resources to promote student success
       3.  Textbook replacement system and support (Engage series)
       4.  Dosage calculation and pharmacology education, resources, and testing
       5.  Nursing Simulation resources
       6.  Comprehensive NCLEX Content Mastery Review Books
       7.  Drug Guide Book
       8.  Assessment builder and secure exam question bank
       9.  Comprehensive NCLEX Preparations (online, practice question bank,
           educator-guided online, and in person face-to-face)
       10. Clinical document management
       11. Scheduling
       12. Student success tracker and early fallout indicators
       13. Curriculum management
       14. Systematic Plan of Evaluation Application
       15. Nursing education, support, and professional development
       16. Consulting (4 days)




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IV. Provide a detailed explanation of the criteria developed and specified by the agency as
    necessary to perform and/or fulfill the contract and upon which the state agency reviewed
    available sources. (Do not use “technical jargon;” use plain English. Do not tailor the
    criteria simply to exclude other contractors if it is not rationally related to the purpose of
    the contract.)

     The following criteria are necessary to maintain the nursing program:

         1. Nursing Benchmarking exams for specific levels’ topics
         2. Student academic support
         3. Textbooks/online books
         4. Dosage calculation and pharmacology education resources
         5. Nursing simulation resources
         6. Drug Guide book
         7. Assessment platform that includes NCLEX-style question types
         8. NCLEX Preparation
         9. Clinical document management
         10. Scheduling platform
         11. Curriculum management
         12. Systemic Plan of evaluation
         13. Nursing education and professional development


     Of the items listed above, all are required to maintain success of the program and to ensure
     continued accreditation and board approval.




V.   Provide a detailed, sufficient explanation of the reasons, qualifications, proprietary rights
     or unique capabilities of the prospective contractor that makes the prospective contractor
     the one source capable of providing the required professional service, service, construction
     or item(s) of tangible personal property. (Please do not state the source is the “best” source
     or the “least costly” source. Those factors do not justify a “sole source.”)


     While there are alternative vendors that provide varied individual services listed above,
          ATI is the only vendor that provides all of the listed services together within the same
          platform as a single package. It is possible to utilize other sources for individual
          components, but it would lead to less unity, organization, and structure within the
          program.




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VI. Provide a detailed, sufficient explanation of how the professional service, service,
    construction or item(s) of tangible personal property is/are unique and how this
    uniqueness is substantially related to the intended purpose of the contract.

     ATI is the only vendor that provides all of the services that are required by the nursing
          program in one bundle/package. Also with all of the services being provided by ATI,
          there is consistency throughout various elements of the program. All of the services
          required by the program and provided by ATI are related to program success, and are
          either directly or indirectly related to maintaining compliance with the accrediting
          body, ACEN.


VII. Explain why other similar professional services, services, construction or item(s) of
     tangible personal property cannot meet the intended purpose of the contract.

     Other vendors do not provide all of the services in one package or within a single platform.
          By using other vendors, it would require the use of multiple sources, which would
          decrease efficiency, effectiveness, and organization within the program.


VIII. Provide a narrative description of the agency’s due diligence in determining the basis for
      the procurement, including procedures used by the agency to conduct a review of available
      sources such as researching trade publications, industry newsletters and the internet;;
      contacting similar service providers; and reviewing the State Purchasing Divisions’
      Statewide Price Agreements. Include a list of businesses contacted (do not state that no
      other businesses were contacted), date of contact, method of contact (telephone, mail, e-
      mail, other), and documentation demonstrating an explanation of why those businesses
      could not or would not, under any circumstances, perform the contract; or an explanation
      of why the agency has determined that no businesses other than the prospective contractor
      can perform the contract.



     Other NCLEX preparation and nursing benchmarking exam vendors include HESI and
          Kaplan. Both of these companies offer NCLEX preparation and testing, but do not
          offer the other services that are required by the nursing program, meaning that all of
          the other services would have to be pieced out. Certain components such as the
          curriculum manager service and the systematic evaluation plan service are not
          available at all through other services; while some vendors provide resources and
          templates, they are not a complete management and housing platform for these items,
          which will be critical to maintaining accreditation with the ACEN’s recent change to
          utilizing online data repositories for accreditation surveys instead of paper.


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Certified by:                                      Date:____________________


______________________________________
Agency Chief Procurement Officer



Agency Approval by:                                Date: ____________________


____________________________________________
Cabinet Secretary/Agency or Entity Head or Designee



APPROVED:                                          Date:____________________


____________________________________________
State Purchasing Agent



If this sole source is being submitted by a governmental agency or governmental entity not under
the final authority of the State Purchasing Agent, the State Purchasing Agent’s signature is not
required. The signature line may be removed from this form or marked as N/A. Hard Copy
Documentation for Courtesy Postings do not need to be submitted to SPD for approval.




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